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                                                                                                  CLEAR FORM

                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES -REOPENING/CLOSING

Case No. 2:16-cv-04779-JFW-Ex                                     Date November 19, 2018

Title: Javier Quiroz v. Cavalry SPV I, LLC

Present: The Honorable John F. Walter




                   S. Reilly                                           Not Reported
                Deputy Clerk                                     Court Reporter / Recorder


Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
Not Present                                        Not Present




Proceedings:    G In Court          G
                                    ✘ In Chambers       G Counsel Notified

G Case previously closed in error. Make JS-5.

✘ Case should have been closed on entry dated 11/16/18 [39]
G                                                                        .

G Case settled but may be reopened if settlement is not consummated within                        days.
  Make JS-6.

G Other

G Entered                                  .




                                                                  Initials of Preparer       SR




CV-74 (10/08)                       CIVIL MINUTES -REOPENING/CLOSING
